                          UNITED STATES COURT OF APPEALS
                              FOR THE EIGHTH CIRCUIT

                                               No: 24-2810

                                       Get Loud Arkansas, et al.

                                                          Appellees

                                                     v.

John Thurston, in his official capacity as Commissioner of the Arkansas State Board of Election
                                      Commissioners, et al.

                                                          Appellants

                  Betsy Harrell, in her official capacity as Benton County Clerk, et al.

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                               Center for Election Confidence, Inc., et al.

                                           Amici on Behalf of Appellant(s)


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      Appeal from U.S. District Court for the Western District of Arkansas - Fayetteville
                                   (5:24-cv-05121-TLB)
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                                         AMENDED ORDER

Before SMITH, GRUENDER, and KOBES, Circuit Judges.

       Appellants’ motion for a stay pending appeal is granted. The temporary administrative
stay granted by this court on September 13, 2024, is converted to a stay pending appeal. The district
court’s preliminary injunction enjoining Appellants, their respective agents, officers, employees,
and successors, and all persons acting in concert with each or any of them, from enforcing the Wet
Signature Rule and from rejecting or refusing to accept any voter registration application on the
ground that it was signed with a digital or electronic signature is hereby stayed pending disposition
of this appeal.




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SMITH, Circuit Judge, dissenting from the grant of the motion for stay pending appeal.

               I would deny the motion for stay pending appeal. The Arkansas State Board of
Election Commissioners (SBEC) bases its stay request almost entirely on Purcell v. Gonzalez,
549 U.S. 1 (2006). I conclude Purcell is inapplicable to the present case.

               The Purcell principle — that federal courts should usually refrain from
       interfering with state election laws in the lead up to an election — is well
       established. See Purcell v. Gonzalez, 549 U.S. 1, 127 S. Ct. 5, 166 L. Ed. 2d 1
       (2006) (per curiam). The Supreme Court has recently and repeatedly reaffirmed it.
       See, e.g., DNC, ––– U.S. ––––, 141 S. Ct. 28; Andino v. Middleton, No. 20A55, ––
       – U.S. ––––, 141 S.Ct. 9, ––– L.Ed.2d –––– (U.S. Oct. 5, 2020); Republican Nat'l
       Comm. v. Democratic Nat’l Comm., ––– U.S. ––––, 140 S. Ct. 1205, 1207, 206 L.
       Ed. 2d 452 (2020) (per curiam). Election rules must be clear and judges should
       normally refrain from altering them close to an election. Purcell protects the status
       quo.

               But the Constitution recognizes something else. Namely that the design of
       electoral procedures is, at bottom, a job for “the Legislature.” U.S. Const. art. I, §
       4, cl. 1; art. II, § 1, cl. 2; see also Rucho v. Common Cause, ––– U.S. ––––, 139 S.
       Ct. 2484, 2495, 204 L. Ed. 2d 931 (2019); cf. DNC, ––– U.S. ––––, 141 S. Ct. at
       29–30 (Gorsuch, J., concurring in denial of application for stay) (“The Constitution
       provides that state legislatures — not federal judges, not state judges, not state
       governors, not other state officials — bear primary responsibility for setting
       election [and elector] rules.”).

Carson v. Simon, 978 F.3d 1051, 1062 (8th Cir. 2020) (alteration in original).

       Importantly, “[t]he Purcell principle is a presumption against disturbing the status quo. The
question here is who sets the status quo? The Constitution’s answer is generally the state
legislature.” Id. Here, it was not the Arkansas Legislature that imposed the wet signature
requirement; it was the SBEC. As the district court explained:




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             Section 6 of Amendment 51 specifies certain requirements for mail voter
   registration applications—i.e., those submitted by individuals and third-party
   organizations—and certain requirements for applications submitted by Registration
   Agencies. Relevant here, both processes require the applicant to make a “signature
   or mark” on the application, affirming under penalty of perjury that the applicant
   meets the voter registration requirements. Id. amend. 51, §§ 6(a)(3)(F), (b)(1)(G),
   (b)(2).

             The Arkansas Constitution does not define “signature or mark.” And though
   Amendment 51 explicitly discusses the use of a “computer process” by Registration
   Agencies in registering new voters, the text makes no such mention regarding mail
   voter registration applications. See id. amend. 51 § 5(b)(2)-(4). However, section 6
   explicitly excludes “any requirement for notarization or other formal identification”
   or “authorization” for registration applications. Id. amend. 51, §§ 6(a)(5), (b)(2).

             Under Amendment 51, county clerks serve as the permanent registrars and
   are tasked with processing registration applications. See id. amend. 51, §§ 2, 9(c).
   The Amendment instructs, “The permanent registrar shall register qualified
   applicants when a legible and complete voter registration application is received
   and acknowledged by the permanent registrar.” Id. amend. 51, § 9(c)(1), (3).

             Historically, county clerks in Arkansas have been “advised to accept voter
   registration applications with any type of signature or mark,” including where “a
   person signs their name in an illegible fashion—or even just makes a mark.” (Doc.
   46-6, ¶ 16). While the signature or mark may be used for later comparisons against
   a voter's absentee ballot, id. at ¶ 19,2 at the registration stage the signature or mark's
   “purpose . . . is to affirm under penalty of perjury that the information in the
   application is true and correct to the best of the applicant's knowledge.” Id. at ¶ 16.

             .     .     .

             On February 28, 2024—two days after the Arkansas Times reported on the
   success of GLA’s online tool—Secretary Thurston sent notice to all county clerks




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   in Arkansas, “strongly recommend[ing] that counties do not accept voter
   registration applications executed by electronic signature” and remarking on the
   need to “maintain [ ] strong election integrity.” (Doc. 46-7, p. 17).

          Soon after, on March 12, Secretary Thurston contacted Arkansas Attorney
   General Tim Griffin’s office requesting a “formal opinion” on the legality of digital
   signatures on voter registration applications that are “created by a third-party non-
   governmental agency.” Id. at p. 19; see Ark. Code Ann. § 7-4-101(g) (“The
   Attorney General shall provide legal assistance to the State Board of Election
   Commissioners in answering questions regarding election laws.”). In April,
   Attorney General Griffin issued his formal opinion that “an electronic signature or
   mark is generally valid under Arkansas law,” provided the “registration form [is]
   created and distributed by the Secretary of State.” (Doc. 46-7, p. 21). In reaching
   this conclusion, Attorney General Griffin stated,

                  given the historical acceptance of signatures produced
          through a variety of means, the widespread acceptance of electronic
          signatures, and the fact that Amendment 51 does not contain any
          restrictions on how a “signature or mark” may be made, I believe
          that an electronic signature satisfies Amendment 51's “signature or
          mark” requirement.

          Id. at p. 23.

          Disregarding the Attorney General’s opinion, the SBEC swiftly adopted an
   emergency rule that prohibited county clerks from accepting voter registration
   applications with digital signatures from individuals and third-party organizations.
   Id. at pp. 61-63, 66, 73; see Ark. Const. amend. 51, § 5(e) (authorizing and directing
   the SBEC to make rules that “are necessary to secure uniform and efficient
   procedures in the administration” of Amendment 51); Ark. Code Ann. § 7-4-
   101(f)(5) (similar). The emergency rule went into effect on May 4, a comment
   period was held mid-summer, and the Legislative Council approved the rule—




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       thereby making it permanent—on August 23. See Doc. 63, ¶ 4 (Supplement to
       Complaint); Ark. Code Ann. § 10-3-309(c) (providing the process for the
       Legislative Council’s approval of agency rules).

       Get Loud Arkansas v. Thurston, No. 5:24-CV-5121, 2024 WL 4142754, at **3, 5 (W.D.
Ark. Sept. 9, 2024) (emphasis added).

                  “In our case, the [Arkansas] Legislature set the status quo, the [SBEC] upset it, and
it is our duty, consistent with Purcell, to at least preserve the possibility of restoring it.” Carson,
978 F.3d at 1062. This is precisely what the district court did when it granted the motion for a
preliminary injunction. As a result, I would deny the motion for stay pending appeal to preserve
the status quo.



                                                        October 09, 2024

Order Entered at the Direction of the Court:
Acting Clerk, U.S. Court of Appeals, Eighth Circuit.
____________________________________
           /s/ Maureen W. Gornik




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